                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


                                          Chapter 11
In re
                                          Case Nos. 24-12752-MFW, et seq.
YIELD10 BIOSCIENCE, INC., et al.
                                          Hearing Date: January 8, 2025, 12:00 p.m.
                                          Objections due by: January 3, 2025, 12:00 pm
Debtors.
                                          Re: Docket No. 7.


              VISION BIOENERGY OILSEEDS LLC’S
          LIMITED OBJECTION AND RESERVATION OF
     RIGHTS REGARDING DEBTORS’ MOTION FOR ENTRY OF:
 (I) AN ORDER (A) APPROVING FORM AND MANNER OF NOTICES
   AND (B) SCHEDULING A SALE HEARING AND ESTABLISHING
     DATES AND DEADLINES RELATED THERETO, INCLUDING
   TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED
   LEASES; AND (II) AN ORDER (A) AUTHORIZING THE SALE OF
SUBSTANTIALLY ALL OF THE DEBTORS’ ASSETS FREE AND CLEAR
  OF LIENS, CLAIMS, ENCUMBRANCES, AND OTHER INTERESTS,
  (B) GRANTING THE BUYER THE PROTECTIONS AFFORDED TO
   A GOOD FAITH BUYER, AND (C) GRANTING RELATED RELIEF

         Vision Bioenergy Oilseeds LLC (“Vision”), by its undersigned attorneys,

files this limited objection and reservation of rights with respect to the sale motion

(Docket No. 7) (the “Sale Motion”) filed by debtor and debtor-in-possession

Yield10 Bioscience, Inc. and its affiliated debtors (collectively, the “Debtors”), and

in support hereof states as follows:

         1.       On December 6, 2024 (the “Petition Date”), the Debtors filed

voluntary petitions for relief under Chapter 11 of the Bankruptcy Code, together



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with the Sale Motion and certain other requests for relief. Since the Petition Date,

the Debtors have managed their affairs and remained in possession of their assets

as debtors in possession pursuant to 11 U.S.C. §§ 1107 and 1108.

         2.       Pre-petition, debtor and debtor-in-possession Yield10 Bioscience, Inc.

(“Yield10”) and Vision entered into that certain License and Service Fee

Agreement dated February 9, 2024 (the “LSFA”). The LSFA, among other things:

(a) confirms Vision’s ownership of certain biological materials and data more

particularly described therein (collectively, the “Vision Materials”); (b) provides

Vision with a global, fully-paid, royalty-free, perpetual, irrevocable, right and

license to certain intellectual property; and (c) requires Yield10 to render certain

services and performance for the benefit of Vision.                Vision rendered all

performance required of it under the LSFA, including the payment of a Three

Million Dollar ($3,000,000.00) license fee to Yield10; the LSFA also allowed

Yield10 to possess, utilize, and exercise certain controls over various Vision

Materials for Vision’s benefit.

         3.       Yield10 failed to fully, timely, and properly discharge its obligations

to Vision under the LSFA, despite Vision’s repeated requests that Yield10 render

such performance.




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         4.       On December 4, 2024, Vision transmitted to Yield10 a written Notice

of Default, Exercise of Contractual Rights, and Demand for Materials and Know-

How.

         5.       On December 4, 2024, Vision provided Nuseed Nutritional US, Inc.

(“Nuseed”) with written notice of, among other things, Yield10’s defaults under

the LSFA.

         6.       Under the Sale Motion, the Debtors propose to sell substantially all of

their assets to Nuseed, subject to the terms and conditions specified therein and in

accordance with a proposed sale order attached as Exhibit B to the Sale Motion

(the “Sale Order”).

         7.       Vision opposes the Sale Motion to the extent that it includes: (a) the

sale of any portion of the Vision Materials; or (b) the assumption and assignment

of the LSFA, for the following reasons:

                  a.    Neither the Debtor nor bankruptcy estate possesses any right,
                        title, or interest in the Vision Materials;
                  b.    The LSFA is not an executory contract that may be properly
                        assumed; and
                  c.    Even if the LSFA were an executory contract that could be
                        assumed and assigned, the Debtors have not met the
                        requirements for such assumption and assignment under 11
                        U.S.C. § 365.

         8.       Shortly following receipt of the Sale Motion, Vision contacted Nuseed

to discuss the same; Vision and Nuseed have subsequently continued to engage in

seemingly productive negotiations related to the Sale Motion.


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         9.       Based upon the discussions between Vision and Nuseed, Vision

understands that, notwithstanding any language to the contrary contained within

the Sale Motion and ancillary documentation: (a) Nuseed does not intend to

acquire the Vision Materials from the Debtors; and (b) Nuseed does not intend to

include the LSFA among the executory contracts that will be assumed and

assigned to Nuseed.

         10.      Nuseed and Vision are actively engaged in negotiating the terms of a

Memorandum of Understanding that is expected to confirm much of the foregoing

and contain a provision for inclusion in the Sale Order that addresses certain

understandings of the parties (the “MOU”).

         11.      Specifically, Vision respectfully requests inclusion of a provision to

the Sale Order in substantially the following form1:

                  “Notwithstanding anything in this Sale Order or the Purchase
                  Agreement to the contrary, neither the Sale nor this Order shall
                  impair, alter, modify, improve, or diminish the rights, claims, or
                  interests of Vision Bioenergy Oilseeds, LLC (“Vision”) under (i)
                  the Memorandum of Understanding dated January __, 2025
                  executed by Vision and Nuseed (“MOU”) or (ii) the February 9,
                  2024 License and Service Fee Agreement between Vision and Y10
                  (the “LSFA”). Nothing in this order shall constitute authority for
                  the Debtor to assume and/or assign the LSFA or the Vision
                  Materials (as defined in the MOU). The LFSA are not Purchased
                  Assets, and nothing in this order shall constitute authority for the
                  Debtor to sell or otherwise transfer them.”


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 With applicable amendments if Vision and Nuseed are unable to execute a
mutually agreeable MOU by entry of the Sale Order.

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         12.      Pending documentation of the MOU and the entry of a Sale Order

consistent with the foregoing, Vision files this Limited Objection and Reservation

of Rights, ensuring that assets owned by Vision are not sold, assigned, or

transferred without its consent, and preserving all of its rights in connection with

the proposed sale of the Debtor’s assets to Nuseed.

Dated:         January 3, 2025          Respectfully submitted,
               Wilmington, Delaware
                                        HILLER LAW, LLC


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                                        -and-

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